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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF NEW YORK

ELECTRONIC NOTICE OF CIVIL OR PRISONER APPEAL & CLERK'S CERTIFICATION

 Dear Clerk of the Court,

         Please take notice that on June 24, 2022 the Court received a notice of appeal. This
 notice serves to inform you of the pending appeal and provides you with the information needed
 to process the appeal.

        I, JOHN M. DOMURAD, CLERK, U.S. District Court for the Northern District of New
 York, DO, HEREBY CERTIFY that the foregoing docket entries are maintained electronically on
 the Court's CM/ECF system and constitute the Record on Appeal in the below listed action.


                                       IN TESTIMONY WHERE OF, I have hereunto set my hand
                                       and caused the Seal of said Court to be hereto affixed at
                                       the City of Syracuse, New York, this 24th day of June,
                                       2022.




                                       By:     Patsy Harvey
                                               Deputy Clerk




                                         Case Information

 Case Name:                 National Shooting Sports Foundation, Inc., et al. v. Letitia James
 Case Number:                   1:21-cv-1348 (MAD/CFH)___
 Docket No. of Appeal:      #48 - Notice of Appeal___
 Document Appealed:         #46 - Memorandum-Decision and Order and #47 - Judgment___

 Fee Status:                           Paid X_

 Counsel:                              Retained X_

 Time Status:                          Timely X_

 Motion for Extension of Time:         N/A X_

 Certificate of Appealability:         N/A X_
